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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



Civil Action No. 21-CV-00796-MEH


UNITED STATES OF AMERICA,
                            Plaintiff
       v.


121 ASH ROAD, BASALT, COLORADO
                            Defendant




                 VERIFIED ANSWER AND DEMAND FOR JURY TRIAL




       True owner Henke Property LLC (“Henke”), a Colorado limited liability company,

answers the Verified Complaint for Forfeiture In Rem of Plaintiff United States of America

(“Plaintiff”) as follows. (The numbering in paragraphs 1 to 130 of this Answer correspond

to the numbering in paragraphs 1 to 130 of the Complaint (Dkt. No. 1).)

                               JURISDICTION AND VENUE

       1.     Henke admits the Complaint includes allegations that purport to arise under

civil forfeiture provisions of 18 U.S.C. § 981(a)(1)(A), (C), based of alleged violations of

18 U.S.C. §§ 1956, 1957, 1343, and 1344, but Henke denies any factual or legal basis

for any of Plaintiff’s claims, including that specified in the First through Fourth Claims for

Relief. Henke admits that this Court has jurisdiction under 28 U.S.C. §§ 1345 and 1355.

       2.      Henke admits the allegations in paragraph 2 of the Complaint.
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                                DEFENDANT PROPERTY

       3.

              a. Henke admits that the legal description for real property defendant 121

                 Ash Road, Basalt, Colorado (“121 Ash Road”) is set out in Exhibit A to

                 the Complaint, which speaks for itself. Henke admits that it is the rightful

                 owner of 121 Ash Road, as set forth in Henke’s Notice of Claim (Dkt. No.

                 14). Henke admits that 121 Ash Road is unencumbered. Henke denies

                 any factual or legal basis for any of Plaintiff’s claims with respect to 121

                 Ash Road. Except to the extent admitted herein, Henke denies the

                 remaining allegations of paragraph 3, subpart a, of the Complaint.

              b. Henke is without knowledge or information sufficient to admit or deny the

                 allegations in paragraph 3, subpart b, of the Complaint, and on that basis,

                 denies them.

                         FACTUAL BASIS FOR FORFEITURE

       4.     No answer is required regarding paragraph 4 of the Complaint because it

does not set forth any allegations that require a response.

                         BACKGROUND OF INVESTIGATION

Overview of Individuals and Entities

       5.     Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 5 of the Complaint, and on that basis, denies them.

       6.     Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 6 of the Complaint, and on that basis, denies them.

       7.     Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 7 of the Complaint, and on that basis, denies them.

      8.     Henke admits that Evatt Tamine (“Tamine”) is manager of Henke. Henke is

without knowledge or information sufficient to admit or deny the other allegations in

paragraph 8 of the Complaint, and on that basis, denies them.

      9.     Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 9 of the Complaint, and on that basis, denies them.

      10.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 10 of the Complaint, and on that basis, denies them.

      11.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 11 of the Complaint, and on that basis, denies them.

      12.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 12 of the Complaint, and on that basis, denies them.

      13.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 13 of the Complaint, and on that basis, denies them.

      14.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 14 of the Complaint, and on that basis, denies them.

Overview of Bank and Wire Fraud Scheme

2006 Reynolds & Reynolds Acquisition

      15.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 15 of the Complaint, and on that basis, denies them.

      16.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 16 of the Complaint, and on that basis, denies them.

      17.    Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 17 of the Complaint, and on that basis, denies them.

      18.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 18 of the Complaint, and on that basis, denies them.

      19.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 19 of the Complaint, and on that basis, denies them.

      20.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 20 of the Complaint, and on that basis, denies them.

      21.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 21 of the Complaint, and on that basis, denies them.

      22.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 22 of the Complaint, and on that basis, denies them.

      23.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 23 of the Complaint, and on that basis, denies them.

      24.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 24 of the Complaint, and on that basis, denies them.

      25.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 25 of the Complaint, and on that basis, denies them.

      26.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 26 of the Complaint, and on that basis, denies them.

Brockman/Tamine Emails

      27.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 27 of the Complaint, and on that basis, denies them.

      28.    Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 28 of the Complaint, and on that basis, denies them.

      29.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 29 of the Complaint, and on that basis, denies them.

      30.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 30 of the Complaint, and on that basis, denies them.

      31.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 31 of the Complaint, and on that basis, denies them.

      32.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 32 of the Complaint, and on that basis, denies them.

      33.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 33 of the Complaint, and on that basis, denies them.

      34.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 34 of the Complaint, and on that basis, denies them.

Emails from Deutsche Bank to Brockman and/or Robert Smith

      35.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 35 of the Complaint, and on that basis, denies them.

      36.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 36 of the Complaint, and on that basis, denies them.

Mechanics of the Buy Back Scheme

      37.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 37 of the Complaint, and on that basis, denies them.

      38.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 38 of the Complaint, and on that basis, denies them.
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      39.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 39 of the Complaint, and on that basis, denies them.

      40.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 40 of the Complaint, and on that basis, denies them.

      41.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 41 of the Complaint, and on that basis, denies them.

      42.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 42 of the Complaint, and on that basis, denies them.

      43.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 43 of the Complaint, and on that basis, denies them.

      44.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 44 of the Complaint, and on that basis, denies them.

      45.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 45 of the Complaint, and on that basis, denies them.

      46.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 46 of the Complaint, and on that basis, denies them.

      47.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 47 of the Complaint, and on that basis, denies them.

      48.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 48 of the Complaint, and on that basis, denies them.

      49.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 49 of the Complaint, and on that basis, denies them.

      50.    Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 50 of the Complaint, and on that basis, denies them.

       51.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 51 of the Complaint, and on that basis, denies them.

       52.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 52 of the Complaint, and on that basis, denies them.

       53.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 53 of the Complaint, and on that basis, denies them.

Reynolds & Reynolds Failed to Disclose the Affiliate Purchase by Edge Capital

Investments, Ltd. on Ernst & Young Audited Financial Statements – 2008 and 2009

   •   To the extent an answer is required to this heading, Henke is without knowledge or

       information sufficient to admit or deny the allegations in this heading, and on that

       basis, denies them.

       54.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 54 of the Complaint, and on that basis, denies them.

       55.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 55 of the Complaint, and on that basis, denies them.

       56.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 56 of the Complaint, and on that basis, denies them.

       57.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 57 of the Complaint, and on that basis, denies them.

       58.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 58 of the Complaint, and on that basis, denies them.

       59.   Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 59 of the Complaint, and on that basis, denies them.

      60.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 60 of the Complaint, and on that basis, denies them.

      61.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 61 of the Complaint, and on that basis, denies them.

      62.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 62 of the Complaint, and on that basis, denies them.

      63.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 63 of the Complaint, and on that basis, denies them.

Reynolds & Reynolds Refinance

      64.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 64 of the Complaint, and on that basis, denies them.

      65.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 65 of the Complaint, and on that basis, denies them.

      66.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 66 of the Complaint, and on that basis, denies them.

      67.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 67 of the Complaint, and on that basis, denies them.

      68.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 68 of the Complaint, and on that basis, denies them.

      69.    Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 69 of the Complaint, and on that basis, denies them.

      70.    Henke is without knowledge or information sufficient to admit or deny the
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allegations in paragraph 70 of the Complaint, and on that basis, denies them.

       71.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 71 of the Complaint, and on that basis, denies them.

                    FINANCIAL ANALYSIS OF FRAUD PROCEEDS

       72.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 72 of the Complaint, and on that basis, denies them.

       73.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 73 of the Complaint, and on that basis, denies them.

       74.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 74 of the Complaint, and on that basis, denies them.

       75.    Henke admits that it purchased 121 Ash Road for $5,000,000 and made

improvements to the property totaling at least $10,000,000. Henke is without knowledge

or information sufficient to admit or deny the allegation that fraud proceeds were used in

the purchase of, and improvements to, 121 Ash Road, and on that basis, denies the

allegation. Henke is without knowledge or information sufficient to admit or deny the other

allegations in paragraph 75 of the Complaint, and on that basis, denies them.

Purchase and Development of Defendant 121 Ash Road

       76.   Henke is without knowledge or information sufficient to admit or deny the

allegations in paragraph 76 of the Complaint, and on that basis, denies them.

       77.    Henke admits that 121 Ash Road is real property located in Basalt, Colorado

and is a privately owned ranch on the Frying Pan River, in Basalt, Colorado. Henke admits

that it purchased 121 Ash Road for $5,000,000. Henke admits that it made improvements

to the property. Henke admits that Tamine, as manager of Henke, gave direction relating
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 to the purchase of 121 Ash Road and improvements to the property. Henke is without

 knowledge or information sufficient to admit or deny the other allegations in paragraph 77

 of the Complaint, and on that basis, denies them.

        78.    Henke admits that it is the rightful owner of 121 Ash Road, as set forth in

 Henke’s Notice of Claim (Dkt. No. 14). Henke admits that it is 100% owned by Henke

 Holdings LLC. Henke admits that both entities (Henke Property LLC and Henke Holdings

 LLC) were formed in Colorado on September 7, 2005. Henke is without knowledge or

 information sufficient to admit or deny the allegation that both entities were formed at the

 direction of Robert Brockman (“Brockman”), and on that basis, denies the allegation.

 Henke admits that Carl Linnecke (“Linnecke”) is a CPA in Aspen, Colorado. Henke denies

 that Linnecke assisted Don Jones and Tamine with incorporating both entities. Henke is

 without knowledge or information sufficient to admit or deny the other allegations in

 paragraph 78 of the Complaint, and on that basis, denies them.

        79.    Henke admits that Regency Management Ltd. is the sole director of Henke

 Property LLC. Henke is without knowledge or information sufficient to admit or deny the

 other allegations in paragraph 79 of the Complaint, and on that basis, denies them.

        80.    Henke admits the allegations in paragraph 80 of the Complaint.

        81.    Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 81 of the Complaint, and on that basis, denies them.

        82.    Henke admits that, from May 25, 2011 through August 27, 2014, there were

 at least 28 wire transfers totaling at least $10,550,000 initiated from Regency

 Management’s Bermuda Commercial Bank account #06-801-200717-01 to Henke’s Wells

 Fargo account #9042-018029. Henke admits that improvements to 121 Ash Road were
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 paid for with these funds. Henke is without knowledge or information sufficient to admit or

 deny the other allegations in paragraph 82 of the Complaint, and on that basis, denies

 them.

         83.   Henke admits the allegations in paragraph 83 of the Complaint.

         84.   Henke admits that Brockman made annual lease payments to Henke for use

 of 121 Ash Road, and Brockman frequently used the property during the summer. Except

 to the extent admitted herein, Henke denies the remaining allegations of paragraph 84 of

 the Complaint.

         85.   Henke admits that Brockman made annual lease payments to Henke for use

 of 121 Ash Road. Henke admits that it made improvements to the property. Henke admits

 that the property was developed to facilitate fishing. Henke admits that Tamine provided

 instructions regarding the property to Linnecke and that Linnecke asked questions of, and

 took direction from, Tamine regarding the property. Henke admits that Linnecke acted as

 a property manager for 121 Ash Road and the “Mountain Queen” property owned by

 Mountain Queen, Inc. Henke is without knowledge or information sufficient to admit or

 deny the other allegations in paragraph 85 of the Complaint, and on that basis, denies

 them.

         86.   Henke admits that Brockman made annual lease payments to Henke for use

 of 121 Ash Road. Henke denies that wire transfers were made for the lease payments to

 Henke and denies that Tamine initiated or authorized wire transfers for the lease

 payments. Except to the extent admitted herein, Henke denies the remaining allegations

 of paragraph 86 of the Complaint.
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 Defendant Funds Held in Mirabaud Bank Account #509951

        87.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 87 of the Complaint, and on that basis, denies them.

        88.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 88 of the Complaint, and on that basis, denies them.

        89.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 89 of the Complaint, and on that basis, denies them.

        90.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 90 of the Complaint, and on that basis, denies them.

        91.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 91 of the Complaint, and on that basis, denies them.

        92.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 92 of the Complaint, and on that basis, denies them.

        93.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 93 of the Complaint, and on that basis, denies them.

        94.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 94 of the Complaint, and on that basis, denies them.

        95.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 95 of the Complaint, and on that basis, denies them.

 Edge Capital Investments, Ltd. Received Returns on Proceeds from SumTotal

 Systems Debt

    •   To the extent an answer is required to this heading, Henke is without knowledge or

        information sufficient to admit or deny the allegations in this heading, and on that
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       basis, denies them.

       96.    Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 96 of the Complaint, and on that basis, denies them.

       97.    Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 97 of the Complaint, and on that basis, denies them.

       98.    Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 98 of the Complaint, and on that basis, denies them.

       99.    Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 99 of the Complaint, and on that basis, denies them.

 Edge Capital Investments, Ltd.’s Mirabaud Bank Account # 509951

       100.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 100 of the Complaint, and on that basis, denies them.

       101.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 101 of the Complaint, and on that basis, denies them.

       102.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 102 of the Complaint, and on that basis, denies them.

       103.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 103 of the Complaint, and on that basis, denies them.

       104.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 104 of the Complaint, and on that basis, denies them.

       105.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 105 of the Complaint, and on that basis, denies them.
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 Financial Analysis of Mirabaud Bank Account #509951

       106.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 106 of the Complaint, and on that basis, denies them.

       107.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 107 of the Complaint, and on that basis, denies them.

       108.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 108 of the Complaint, and on that basis, denies them.

       109.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 109 of the Complaint, and on that basis, denies them.

       110.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 110 of the Complaint, and on that basis, denies them.

       111.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 111 of the Complaint, and on that basis, denies them.

       112.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 112 of the Complaint, and on that basis, denies them.

                                CRIMINAL INDICTMENT

       113.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 113 of the Complaint, and on that basis, denies them.

       114.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 114 of the Complaint, and on that basis, denies them. To the

 extent paragraph 114 contains legal conclusions, no response is required.
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                     VERIFICATION OF TED LAIR, SPECIAL AGENT

               INTERNAL REVENUE SERVICE-CRIMINAL INVESTIGATION

        No answer is required regarding the verification to the Complaint because it does

 not set forth any allegations that require a response.

                                FIRST CLAIM FOR RELIEF

        115.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 114 above as if fully set forth herein.

        116.   Henke denies the allegations in paragraph 116. To the extent paragraph

 116 contains legal conclusions, no response is required.

                               SECOND CLAIM FOR RELIEF

        117.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 116 above as if fully set forth herein.

        118.   Henke denies the allegations in paragraph 118. To the extent paragraph

 118 contains legal conclusions, no response is required.

                                THIRD CLAIM FOR RELIEF

        119.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 118 above as if fully set forth herein.

        120.   Henke denies the allegations in paragraph 120. To the extent paragraph

 120 contains legal conclusions, no response is required.

                               FOURTH CLAIM FOR RELIEF

        121.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 120 above as if fully set forth herein.

        122.   Henke denies the allegations in paragraph 122. To the extent paragraph
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 122 contains legal conclusions, no response is required.

                                FIFTH CLAIM FOR RELIEF

        123.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 122 above as if fully set forth herein.

        124.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 124 of the Complaint, and on that basis, denies them. To the

 extent paragraph 124 contains legal conclusions, no response is required.

                                SIXTH CLAIM FOR RELIEF

        125.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 124 above as if fully set forth herein.

        126.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 126 of the Complaint, and on that basis, denies them. To the

 extent paragraph 126 contains legal conclusions, no response is required.

                              SEVENTH CLAIM FOR RELIEF

        127.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 126 above as if fully set forth herein.

        128.   Henke is without knowledge or information sufficient to admit or deny the

 allegations in paragraph 128 of the Complaint, and on that basis, denies them. To the

 extent paragraph 128 contains legal conclusions, no response is required.

                               EIGHTH CLAIM FOR RELIEF

        129.   Henke repeats and incorporates by reference its admissions and denials of

 paragraphs 1 to 128 above as if fully set forth herein.

        130.   Henke is without knowledge or information sufficient to admit or deny the
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 allegations in paragraph 130 of the Complaint, and on that basis, denies them. To the

 extent paragraph 130 contains legal conclusions, no response is required.

        The remainder of Plaintiff’s Complaint, beginning with the word “WHEREFORE,”

 constitutes a prayer for specific relief to which no answer is required. To the extent a

 response is appropriate, Henke denies that Plaintiff is entitled to any of the requested relief

 sought in the First through Fourth Claims for Relief.

                                DEMAND FOR JURY TRIAL

        Henke demands a trial by jury.

                                 AFFIRMATIVE DEFENSES

                                  First Affirmative Defense

        1.     Plaintiff’s claims are barred, in whole or in part, because they fail to state a

 claim upon which relief can be granted.

                                Second Affirmative Defense

        2.     To the extent that Plaintiff’s allegations are true, Henke was at all times an

 “innocent owner” under 18 U.S.C. § 983(d).

                                 Third Affirmative Defense

        3.     Plaintiff’s Complaint is barred by the applicable statute of limitations,

 including but not limited to 19 U.S.C. § 1621.
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       WHEREFORE, Henke prays that Plaintiff takes nothing by way of its Complaint

 and that Henke recovers its attorneys’ fees, costs, pre- and post-judgment interest, and

 such other and further relief as the Court may deem just and proper.



                                                       King & Spalding LLP
                                                       /s/ Cliff Stricklin
                                                       Cliff Stricklin
                                                       1401 Lawrence Street
                                                       Suite 1900
                                                       Denver, Colorado 80202
                                                       Phone (720) 535-2327
                                                       cstricklin@kslaw.com
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 30, 2021, a true and correct copy
 of the foregoing Verified Answer was filed with the Clerk of Court using the CM/ECF
 system, which will service such filing on the following:

    Tonya S. Andrews
    Assistant U.S. Attorney
    Chief, Asset Recovery Section
    U.S. Attorney’s Office for the District of Colorado
    1801 California Street, Suite 1600
    Denver, CO 80202
    Tonya.Andrews@usdoj.gov
    Attorney for United States of America.

    Claimant
    Edge Capital Investments, Ltd.

    Represented by
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                                                          /s/ Stephanie Tafoya
                                                          Stephanie Tafoya
